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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Shuffle Tech International LLC, et al.
                                          Plaintiff,
v.                                                       Case No.: 1:15−cv−03702
                                                         Honorable Matthew F. Kennelly
Scientific Games Corporation, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 14, 2018:


       MINUTE entry before the Honorable Matthew F. Kennelly: Telephone status
hearing held with attorneys for both sides. The case will proceed to trial as scheduled.
Mailed notice (ags, )




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